                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

KILMAR ARMANDO
ABREGO GARCIA, et al.,                         *

        Plaintiffs,                            *
                                                          Civil Action No. 8:25-cv-00951-PX
   v.                                          *

KRISTI NOEM, Secretary,                        *
United States Department                       *
of Homeland Security, et al.,                  *

        Defendants.
                                              *
                                             ***
                                           ORDER



        The Court has reviewed Defendants’ Motion to Stay (ECF No. 101) and Plaintiffs’

Response (ECF No. 102). With the agreement of the parties, the Court hereby ORDERS that

discovery shall be stayed (ECF Nos. 61 & 79) until April 30, 2025, at 5:00 PM.



April 23, 2025                                                           /s/
Date                                                              Paula Xinis
                                                                  United States District Judge




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